OO oo =) oe ft oe UH UP

Bo OS OUD OB ba obBa Ba ob —_ _ —_— ae —_ —_
mom RR EB Sekt Uk GD Bw Pe GS

 

Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 1 of 25

Philip K. Goldstein, Esq.

Nevada Bar #4275

LAW OFFICES OF PHILIP K. GOLDSTEIN, LTD.
609 South Seventh Street

Las Vegas, NV $9101

(702) 388-2004

Attorney for Debtor
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In Re: }
} CASE NO. 09-31135 Ibr
LANCE ATCHISON, } CHAPTER 13
CHERYL ATCHISON, j
} Date of Hearing: 3/11/10
Debtor. } Time of Hearing: 2:30 P.M.
)

 

MOTION TO VALUE COLLATERAL, "STRIP OFF” AND MODIFY RIGHTS OF
HFC (****9661) PURSUANT FO 11U.5.C. §506(a) AND §1322

Now Comes, LANCE & CHERYL ATCHISON (hereinafter the “Debtors"), by
and through their attorney, PHILIP K. GOLDSTEIN, ESQ. of the LAW OFFICES OF PHILIP
K. GOLDSTEIN, LTD., and move this Court pursuant to 11 U.S.C. §506(a), and §1322, and
Bankruptcy Rules 3012 and 9014 and states:

RISDICTION

The Court has jurisdiction over this matter pursuant to 28 U.S.C § 1334 and 28 U.S.C. § 157,

STATEMENT OF FACTS

 

1. On November 6, 2009, Debtors filed a Voluntary Petition under Chapter 13, Title

11, of the United States Code, case number 09-31139 [br.

 

 
ooo os) Ch ow Be ww he

thw bo WwW Ww BM NM BR om he Se Se Se Se Se SLUmLUmD6
boo UR de ae Oe a a

 

Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 2 of 25

2. In their petition, debtors listed their home which is located at 4851 Villa Carmen
Cr., Las Vegas, Nevada (hereinafter referred to as “Home”), with a value of $152,500, anda
mortgage balance totaling $248,967,

3, However, upon further investigation and an actual appraisal, the Home is valued
at $75,000. (See appraisal attached hereto “Exhibit 1”).

4, At the time of filing, the “Home” was encumbered by a first mortgage with Chase.
That mortgage has a balance of $160,453.61. (See proof of claim from Chase, attached hereto
and marked as “Exhibit 2”).

5, On the petition date, Debtor owed money to HFC (hereimafter the “CREDITOR
HFC”), identified in Schedule D in debtors’ petition.

6. Based on the appraisal (exhibit 1), the home value of $75,000, less the first
mortgage balance of $160,453.61, results in negative equity, or go equity upon which the
“CREDITOR HFC” claim could attach. (See Exhibits 1 through 2).

7. “CREDITOR HFC’s” claim is wholly unsecured and if the “Home” was sold at
auction Creditor would receive nothing.

8. Accordingly, the Debtors request that this Court find that the claim of
“CREDITOR HFC” is unsecured and should be reclassified as a general unsecured claim to

receive pro rata with other general unsecured creditors through the Dehtor’s chapter 13 plan.

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 3 of 25

LEGAL ARGUMENT

 

In Ja re Zimmer, 313 F.3d 1220 (9" Cir. 2002), the Court stated that a wholly unsecured
lien holder's claim can be modified and reclassified as a general unsecured claim pursuant to 1k

U.S.C.§506(a),despite the anti-modification language in §1322(b)(2)}. Specifically, the Court

Ww om wD oH tA me WwW he

eS a
of = Gh LA i ok Ur 0 Ol a Oe

 

held:

claim to a general unsecured claim to receive pro rata with like unsecured creditors. “CREDITOR

HEC” should also be stripped of its secured rights under State law since no maintainable security

Section 506{a) divides creditors’ claims into “secured...claims" and
“unsecured claims.” Although the conventional interpretation of
"secured" might include any claim in which the creditor has a
security interest in the debtor's property, § 506(a) makes clear that
the status of a claim depends on the valuation of the property. An
allowed claim of a creditor secured by a lien on property in which
the estate has an interest ... is a secured claim to the extent of the
value of such creditor's interest in the estate's interest in such
property ... and is an unsecured claim to the extent that the value of
such creditor's interest ... is less than the amount of such allowed
claim

To put it more simply, a claim such as a mortgage is not a "secured
claim" to the extent that it exceeds the value of the property that
secures it. Under the Bankruptcy Code, “secured claim” is thus a
term of art; not every claim that is secured by a lien on property
will be considered a "secured claim.“ Here, it is plain that PSB
Lending's claim for the repayment of its loan is an unsecured
claim, because its deed of trust is junior to the first deed of trust,
and the value of the loan secured by the first deed of trust is greater
than the value of the house.

Accordingly, since the claim of “CREDITOR HFC” is wholly unsecured (in that

there is no extant equity above the first mortgage in the home), Your Honor should reclassify said

interest in the subject property exists.

 
wo mw om lI ee WwW Fr

boob BoB BOB eee
SB SS ff Gt 8 Gb HB KF SB oo wm HW HR A Rk YW BM SE SS

 

Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 4 of 25

Further, the debtors are not required to file an adversary proceeding to achieve the
requested relief herein. Debtors may bring a motion to "strip off" “CREDITOR HFC’s”
consensual lien by motion. See Jn re Williams, 166 B.R. 615 (Bankr.E.D.Va.1994), in re Fuller,
25§ BR. 300 (Bankr. W.D.Mich.2000), ft re Hoskins, 262 B.R. 693 (Bankr.E.D.Mich.2001), Jn
re King, 290 B.R. 641 (Bankr-C.D.111.2003), inre Millspaugh, 302 B.R. 90 (Bankr.D. Idaho
2003), Dickey v. Ben. Fin. (In re Dickey) 293 B.R. 360 (Bankr.M.D.Pa.2003), Ja re Hill, 304
B.R. 800 (Bankr.S.D.Ohio 2003), J re Sadata 294 B.R. 180 (Bankr.M.D.Fla.2003), in re Fisher,
289 B.R. $44 (Bankr. W.D.N.Y.2003), in re Robert.313 BR. 545 (Bankr. N.D.N.Y¥.2004), In re
Bennett, 312 B.R. 843 (Bankr. W.D.Ky.2004),

ONCLUSION
WHEREFORE, Debtor prays as follows:

l. Find that “CREDITOR HFC” is not a holder of a lien on the home;

2. Immediately avoid, "Strip off", cancel and extinguish “CREDITOR HFC's”
wholly unsecured claim/lien from the home pursuant to 11 U.S.C. Section 506(a);

3. Reclassify “CREDITOR HFC’s” claim as a genera! unsecured claim to be paid
pro rata with other general unsecured creditors through the debtor's chapter 13 plan;

4. Such other relief the Court finds appropriate.

DATED: This 29" day of January, 2010.

LAW OFFICES OF PHILIP K, GOLDSTEIN, LTD.

By:_/s/ Philip K. Goldstein
PHILIP K. GOLDSTEIN, ESQ.
Nevada Bar #4275

Attomey for Debtor

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 5 of 25

EXHIBIT |

 

 
Case 09-31139-abl

Doc 22 Entered 02/02/10 17:39:53 Page 6 of 25

PARKER DRISCOLL APPRAISAL
Ae

Fab: BE. GUERRA

 

 

 

 

APPRAISAL OF

 

 

SINGLE FAMILY RESIDENCE

LOCATED AT:

4841 VILLA CARMEN CIRCLE
NOTH LAS VEGAS, Wi Ba031-1065

CLIENT:

ATGHISCHACO PHILIF L GOLDSTEIN, LTO
Ade SOLTH SEVENTH STREET
LAS VEGAS. Nv Brig]

AS OF;

Seplember 23, 28

BY:

JAMES DRISCOLL
PARKER DRISCOLL APPRAISAL

 

 

 

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 7 of 25

PARKER ORISCOLL APPRAISAL
Residential aisal Report Bie Ho. BES

The paride of iS apprae repo 6 Lo provide the GAT WEN a crettée opinion of the defined vale of che aubies PlOpenn. p Men ihe cence une of the apprasal.

 

a
Anabyte of poy Sa of Tanster MiSoony of che subbect pperty dared conreuarastee sucked, if cegeprbcci bie)

CMTaringS. oedons Bnd Gortrecrs 0s of the effective dive oF ihe apepralsal

T

Iigregt Candies bricdieg sUpeOrt ler The abOWE ConciReOT]

bi the igre ed bers] sao! The Subject property a8 improved for 5 pTyaaad par plans andl spncHicawionna]| Lhe present WB

F.
Adgkhtonal Fediutes

Geren pan hee indgal enceTHESFCS
Lal

 
  

(Pomc rag PA) an oe

: Fra
_ Page al? fepanead Repent 100m
rere ees

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 8 of 25

PARKER DRISCOLL APPRAKSAL
Residential Appraisal Report FRE No, oo

4847 VILLA CARMEN CIRCLE 4823 CAMING HERMGS 1217 TARAMAR ST 2912 SHADY GARDEN CT

Sale of Firanciney

Sumimary of hetrie AppIOEch [iveiudeng lepporL It metal rent and <P

T.
This appa 5 Tuppe as 5,” BO CORR Pee End SeeCTTCRAOnS On the bares old Ip condor thant he ripeness Peder Bei Corie
bo Drag PeRaar ragga aC Oo Lh ie Nee CHOCO OTT THE PePLE'S Dar BDL Paka RET (eH) (Deuce bo the bation:

Based onine scope aoanock, aesumplons, limaling coriditions dk appraiser's CACAO. Ty [OUT Cpu oF bred afin wali oat Une feel pero pen Ly
Thais ine Subject of this nape iy § Te uom 4544 [WO S ae atich is the offood e date of this appraisal.

 

Prick ng AC omer BCC) cmc ‘Vg barn Cepia a Deva Ge Ce Sera bec A Fgh Seaver.

= "= [ammrel Purpoomn Appeal aro
ida "I aR 4 naaar
fear oo EP A, Pemer Disco Appraise

 
Case 09-31139-abl

4691 VILLA CARMEN CIRCLE

San or Fingreng

Ci aR SLO are

Doc 22 Entered 02/02/10 17:39:53 Page 9 of 25

PARKER DRISCOLL APPRAISAL
Residential Appraisal

1528 RIO BRAWO OR 5206 LEOPARD CT

mind HE odd H

Paced wm AD acm, ed 0 re ac car
Reider Corcperebich

Fi He, BH}

3026 PORTLAND CT

1.25 miles WAY

ii
Ef

 

Ht

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 10 of 25
ADDENDUM

 

 

 

Clank ATCHESOMWLO PHILIP, CL OSTEIN, LT Mt
Erovedty Agdnggs: 4551 VILLA CARMEN CIRCLE Cate Me.
Shy: NORTH LAS VEGAS Sian AAT 2p. §6001- 1065

 

 

Commenite on Sales Comparison

THE APPRAISAL 1S BASE OM THE UNF ORATION GATHERED BY THE 4PPRASER FROM PLC RECORDS, OTHER IDENTIFIED
SOURCES, INSPECTION OF THE SUBJECT PROPERTY OND MEIGHEORHOOD OND SELECTION OF COMPORABLE SALES WITHIN
THE SUBJECT MARKET AREA THE ORGINAL SOURCE OF THE COMPARABLE IS SHOWN IN THE DATS SOURCE” SECTION OF
THE MARKET GRID ALONG ITH THE SOURCE OF CONFIRMATION, IF AVAILABLE. THE ORAGINAL SOURCE IS PRESENTED FIRST.
THE SOURCES AND DATA ARE GOMSIDERED PELLASLE, WHEN CONFUCTING INFORMATION |S PROVIDED THE SOURCE DEEMED
MOST RELIABLE HAS BEEN WRSED. OATA BELIEVED TO BE WINRELIABLE HAS MOT BEEN INGLLDED INTHE REPORT OR WSED AS
ABASIS FOR THE WALLA GORGLLUGSION,

PHYSICAL DEPRECIAFION 1S BASEO ON THE ESTIMATED EFFECTME AGE OF THE SUBJECT PROPERTY ANDO SToNOARD RATES
OF DEPRECIATION WITHIN THE LOCAL MARKET. FUNCTIONAL ANDAGR EXTERNAL CEPREGATION, IF PRESENT. SRE
SPECIFICALLY 400RESSED IN THE APPRAIGAL REPORT OR ADDENDA,

PTS OF RAO BY FAS APPRAISER IF THERE |S AN? RENOIR LEGAL ACTION AGAINST THIG FUNLGERL ITS RELIEVED THAT
THERE |S NONE. HOWEVER, THIS APPRAISER ANCHOR OFFRIE VALE NOT GE HELO RESPONGIBLE IF ANY INFORMATION HAS
BEEN VATHHELG. 17 1S THIS APPRAISERS OF IMION THAT THE ORE MAN SHIP IS COMSISTENT WITH OTHER HOMES IN THES
4SRE4 ACDMONALLY, THERE WERE NO OBVIOUS DEFICIENCIES NOTED AT THE TIME OF INSPECTION.

HLAGDITION, THE APPRAISER, MAKES AO WORRANTIES 45 TO THE OVERS ATTAINMENT OF PERBATS FOR ANY
MOMFICATIONS TO THE SUBJECT PROPERTY AND ACCEPTS MO LARMLITY FGA ANY NON DISCLOSURE.

NG VALUE WAS GIVEN TO PERSOHWAL PHOPERTY.

THERE HAVE BEEN OPRRGOAIMATELY 24 COMPARABLE TRANSFERS WITHIN THE PAST 12 MONTHS RAN GEMG FROM Se, eS TO
3169.500. OF THESE OPPRORIMATELY 5 APPESR TO BE OPEN MARKET SOLES RAN GENG FROM $98 1 TO 9180.50) THERE
WERE 5 FORECLOSURES RAMGIMG FROM 356,706 TO $83,9%), OND 14 REO S465 RANGING FROM 872,500 TO $1B5.000, BONE
ACTIVITY ACCOUNTS FOR APPROXIMATELY Ta% OF ALL TRANSFERS.

COUNTY RECORDS REFLECT PREVIOUS CAMMER AMD CURRENT OWNER, THEREFORE, SHORT S315 TRANSFERS MAY APPEAR
7 BE OPEN MARKET, THE TRANSFERS ALS INCLUDE PRIVATE TRANSFER SOT TY WHICH 1S NOT INCLUDED IN THE MLS
DATA PRESENTED. FURTHER, COUNTY RECORDS MAY NOT REFLECT THE MOST RECENT CLOSED MLS TRANSFERS OWE To
THE OBLAT IN RECORDING.

THERE ARE CURRENTLY 15 ACTIVE LISTINGS OF THESE THERE ARE 13 REGQMGHORT SALE LISTINGS RANGING FROM $76,900 TO
£155,000, AMD 2 OPEN MAREET LISTINGS RANGING FROM $85,000 TO $168,000. BONK ACTMITY EQUATES TO APPROZIMATELY
BP’ OF ALL COMPARABLE USTINGS AND REMONG SALES.

47S GN MARKET ARE WOT REFLECTIVE OF MARKET EXPOSURE TIME DUE TO CHAMGES TO THE AMCAJNTS OF THE ORIGINAL
LIST PRICE, RIESE TTIAHS THE COM, MID ELE TO LIST PRIGE RATIO. ACCORDING TO THE MLS THE AVERAGE COMM IS
APRROMIMATELY 126 QANS, AMID THE AVERAGE SALES PRICE TO LIST PRICE RATH IS APPROAIMATELY 12h. ACTUAL MARKET
TIME APPEARS TO SE 3-4 MONTHS. THE RATE OF DECLINE APPEARS TO BE APPROXIMATELY 24% PER YEAR, OR 2% PER
MOATH, THE APPRAISER HAS RESEARCHED COMPARABLES FO THE PAST 12 MONTHS, AND COMPARABLE LISTINGS, THE
WIGE RANGE IS DUE TO THE BANK ACTIVITY (FORECLOSURES. REO SALES. AMD SHORT SLES), & TIGHTENING CRECHT
MARKET, AN CVERSUPPLY OF INVENTORY.

REQUSHORT SALES HAWE BEEN UMLIZEG IN THE PREPARATION OF THIS REPORT DUE TO THE FACT THEY ARE DRIVING THE
MARKET

THE APPRAISER 1S AWARE OF THE ESTIMATED MARKET VALVE BEING RELOAY THEM THAT OF THE ESTIMATED PREDOMINANT
NEIGHBORHOOD VALUE HOAVEVER, THERE ARE HOMES WiTHIN THE SUBJECTS MARKET AREA WHICH ARE LOWER THAN THE
SUBJECT IN VALUE. IT 1S THE OPINION OF THE APPRAKSER THAT THE SUBVECT 13 NOT AN UMIER IMPROWEMENT FOR ITS
NEIGHBORHOOD.

LOAY TO HIGH RAMGE OF COMPARAGLE AQJUSTED SALES PRICES & GREATER THAN 20% OF INDICATED VALUE BY SALES
COMPARISON APPROACH. THIS 18 OUE TO THE DIFFIGULTY IN LOCATING COMPARABLE PROPERTIES TO THE SUBJECT SIMILAR,
IK_AGE. GROSS LMING AREA, AND SITE SIE WMTHIN THE MARKET AREA

NOTE: ONE OR MORE OF THE COMPARABLE SALES EXCEED THE PREFERRED 1 MILE HS TANCE GUIDELINE, ALTHOARGH IT Was
NECESSARY TO EXCEED THIS GLADELINE DUE TO THE LACK OF SIMILAR, PROXIMATE SALES, ATH A POOL, THE COMPARABLES
USEC STrLL FALL WITHIN THE SUBJECTS MARKET AREA

IT BHOULG BE NOTED THAT THE SUBJECT PROPERTY H.A5 4 INOPERABLE POOL. THE HOME CoWwNER if IN THE PROCESS OF
FALUNG IT IN ATH DIRT AS 1 LEAKS AND HAS CAMGEC SETTLING ISSUES YiTH.4 NEIGHBORING PROPERTY. THE HOME
OWNER INDICATED THE COST TO REPAIR THE POOL IS APPROSUMATELY $15,000. THE COST TO FILL THE POOL WITH DIRT 15
APPROMMATELY 52.000. THE APPRAISER HAS LTILIZED ONLY ONE COMPARABLE WITHA POOL AND A MEGATIVE ADJUSTMENT
FOR THE POOL IMPROVEMENT 4.05 BEEN MAO FOR THS COMPARABLE. ho ADJUSTMENTS FOR THE LACK OF POCA
IMPROVEMENTS HAVE BEEN MACE FOR THE OTHER COMPARABLES UTILIZEOQ DUE TO THE COMOITION OF THE SUBJECT
PROPERTY POOL, THE APPRLAISSL HAS BEEN PERFORMED "A548" WITH A COST TO CURE OF 82,00 TAKEN INTO
CONSIDERATION TO FILL THE SUBJECT POOL 4TH GIRT. FURTHER, THE SUBJECT POR L IS EMPTY AND PRESENTS HEALTH
AND SAFETY IS5VE8 IN ITS CURRENT CONCITION,

IT SHOULG SE NOTED THE COUNTY RECORDS INGORRECTLY REFLECT THE SUBJECT, COMPARABLES #1_ AND, AS 3
BEDROOM PROPERTIES. HOWEVER. BASED UPON THE INSPECTION OF THE SUBJECT, ONO THE MLS FOR THE COMPARABLES
THESE PROPERTIES ARE 2 BEDRGOK WITH & DEN, TT SHOULD BE NOTED THE SUBJECT PROPERTY UTILIZES THE ako
BEDROOALAS 4 06M, DUE TO THE FACT FOR A NOMINAL COST IT GAN BE EASILY CONVERTED BACK TO ITS INTENDED USE AS
49RD BEDROOM. FOR THE PURPOSE OF THIS REPORT WO ADJUSTMENTS HAE BEEN MADE FOR ? BEDROOM WMTH 4 DEN
VERSUS 3 BEDROOMS.

 

Achdorchatn Patgph oi 1

 

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 11 of 25

Fit He gua

 

Scope of Work, Assumptions and Limiting Conditions

Scone of work is defincd inne Leiformm Siarderds of Profeswenal apprasal Practice os ~ the type and exert reteanch and alalysas in an
aSsignmen..” Inshor. scope ol york Is simply whar Lhe dppraiser did and did ren do dung the cose of ine assignment, Ik melas, Bue isnt
lirtlaiae co: Ina extent teawhich Lhé property iS derailed and Inspected. ino type and ester of dace researched. ihe type and eeverd of anetyses applied
ho arleg ab opinions oF CORCIUSHOMS.

The stege of ches appraisal and ensuing draQussion In tbls report are specs; In the needa of che clan other Wanted intended users aed to be
intended use oF lheéperl. This rapor was prepared far the tolé and exclusive use of the Ghent and daher derided Inbenced users for Ing Kacrmified
Intended ote ad WS ue Bey any Other pertees is PrOnB iced, Thee apa Ser 1S TOK CEES pee for uriaaalicr led Use Of ine Papert.

The appraiser's corufication appearing In this apprarsel report is subject to ine following congiteos and te such ober seecitic condes 25 are
sat orth by IN APDTaISer iene rEport Gil ReWaMrdinary aSsuMpPU|ENs and hypothetical conditions ane sated inne seaport and might have affeced the
ASSipIMend results.

1. Tih Ag oTW eseS ReSSNTRESS age ee ppCnrabe ry oe ek ead a bea ed a Pe TT] the property apprenbid dt Like WhEOEG, um Cees thee appre reeracke Arg cepTHONT Se MUI, Na
Asuna tbe good and racked. The DOORS HE appraepcd as Moun ries! eS phones Rte cam ECS.

t dagry Shoedechs in Tri ego rtkay vor APE TeNt ere ara irc cot by Wo SSS] UI peer oT ali zinag Line prep. Tine: Sere Hear fuaes igpee rag Sarva oft ote pa cepO

i The appraise & nil eecquifed Ln Oe CeSIANOTY OF apPeNr nT COU DRS of Teri Pde whe EpOC asa! wath apdererte ka the MOpeTy in CREST, UnkeSs AMET’ bebe beer
prenmunthy inde Tere

4 Mather al, nor ey Alea ihe content ott rapor, copy on ote media Cheread [ICT CONC AHane ay to Une propery VERE. Ane Kderathny of the apparcines, peceseakal Ae OP LTS.
athe Tar aah whch Khe eterasar is cormcctedh, shal Be ued Hol arty purposes by eporee but che CHET and other RANG ypers as ortfied 1 US MepOr. nor sha tbe Lommeyed by
BI TD Phe public Ihmugh adweThsine. PUIG rEEDONS. Fer, aC, or other ire, wANGUT Che WITHIN comma oF thet OpyHacter.

6. The appraiser wil ne discinsa the conlonts oF this appraisal rape Unies reGUned by applicable Liew or ue Spec Med in the Winiiorra Standart of Provtessened Aaprasa! Practice.

B, infamation, arases. Br Opens Auoreshod In hd appraise, andl ooncalead hy the vapor wag potained bot SounCes cor Mere Wake are bebeeed 1a be the and correcs
Heres, 1 TESTS For accuracy of Such eT TomTHStieed bo tine epee pear re arsed by he APSE

7. The sAfreeaT JG SUMes That where ane no hidden or ura pane COMMPTTS Of the property, cuban], of Saris, wtih wie! pongo i monk ov bes vee, TT apr oes Sarr:
IOESpenehiny for uch conor, of for engineer) ov eating. which might be remuwed 10 aScower such iaciors. Thés aperaisalis rol an BEvTonmental ryseriment of Lhe properly and
shoud nal be concede eel 35 Gu.

B. The apgaioet SpétiM 26s In cha eaRu of dal property Ad nO a OTe Inset, GLiking cOnmACIN, SUI! eee, OF aL cape, uke’ cleric feted. The appr mee
dd nOL-CONGura the indepen Dype Of Tek OServallors oo ihe honed mnienided (9 week andl disciwer prOpeMy defects. Ine iewing af ihe Pope BMG amy UTIproMErmaes re Fre purpeces ot
SeveipIgUIN opinion a tie defined vie of the property, qeverh (ihe ined Lee 14 Tis aaskHreana. SATs (eg) COMIC] BF Deve On quote COSA AERC Oy Ther
Jperee chine 0 special experese regarding epewé inchading. Dur neat bmniaed in: kundapon pentierme, ROATIESC OGHIFE probleme, wad deealo yi (OF oaneN) Sects, pes! nies lan,
radon dé. feed Based aan, pk] or errand ISM Uinbess otherampa mck ted, aeCterveCe | SEDATE MEE Nok aad on Lene,

The apprimial wepON Shou noc be sad [og dackee the COMA Owe PrOpety ar relabes ko the presencebirsence of delpcts. The cheve is ated Weed encouragad In oepicy cuffed
Ape LO MefeCT and AIS one Of concen W neQather conditions ge descovenéd, che opine ol Waar Ty be affected.

Unies alheraise rioced. tha aperaisar assures che components thet conyiiulé ine Subject propeny improvemerd(s) are fundamentally sung and in
mec kirl] Craker.

Any -Tiewitg ol The property by the appridter ris: Lined IF neomkty posorable arbad, Units Diearits ragtedl, athos ard cried Sate OTE BE MOE aoNSE. The Appraiser did mal MOAT
formate, Viger Coreernrege® cat Coe WOT: MEM ry es rect Khe wider) OM ete poOpAEAT

9. Appradald imokang hiypometical commons wetabed Ln coe pELON OF Ne GONEAPUCKON, mepaws or alerawan Ane besad ore the aeapenn (ha duct tem, alecaiay ov ropa will
be Lompalnety performed

1. Unies cha Rianded use ol het appraiial Spenicaly Indudes Ieee of propénly inSulence Comte. Ors appeal shoud ri be acted Por Such Pup Acpoduckin or
Replacement cost figures uebest in it Cor BPP ane for vamuttice pRUrpoEss Oy. TRAE che waded ute Chie Satyam Teves egies el Wt oa ued ir Uns eS Sagem 5 (ura ety
Bee Capes Le whee WD Ol Peruano Wabure Foe ope aN OE gL

11, The AGI Generel Purpeceé Appraisal Peport (GPAA™) is uot [obarded or sein transactions that require @ Fannie Mae 1 0ddiFreddna Wee: 70 torm,
also Kren af Lhe Lawoom Reseantial Apparel Repor (LAR)

Additignal Gommerits Related 1p Scope OF Wark, Assumptions and Limiting Condiiens.

THE PURPOSE OF THIS APPRAISAL REPORT 19 TO PROVIDE THE CLIENT WITH A CREDLE OPINION OF VALWE GF THE SWBJECT
PROPERTY, FOR THE OLE AMD EXCLUSIVE USE OF THE CLIERT, THERE ARE NG ADDITIONAL INTENDED USERS OF THIS

APP RAEALUSUMMARY REPORT.

 

 

Procacam! rg AGT aM, Ml id 77 re cmc Tre Mara capi CE FOO AC] Doe OS Sarena. PA Fgh cred

~ KP A™) reel Pug April rae. Taka
Lenco pres gee ret

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 12 of 25

File No. Baa

 

  
 
 
  
  
 
 
  
 
 
 
  
 
  
 
 
 
 
 
 
 
 
 
 
  
 
   
  

Appraiser's Certificatlon
The appraisers) certias that, 10 (hd base of the app eeser’s knoeledige ard GHG!
1) Tha stalpreents of [cL contareed in tid Pepe ane toa aed Core.

Tea reported anabylass. oppruong, and cooncRs kad 2Fp Gimitied Oriby Dy Che reported atdurapyienTs ang lean cori an] ary ihe apiece personal, miperia. ped univasod
prepa anaes. opinion, aid COACL ANT

7. Uneers piheraice Suned) the appraiser has An presend on PAUepeC ths mae an Lhe propeSTy Da] me SUb}eS OF tes report and hes To personel meres] wil Tasca by hee peers
irate.

4 The appr sker fas no bag walle ose 0 1h property that is Wor sub H OU thes negate I Ue peered teeta vert di Sch Ara,
5. Tig gpa ces exe pea re Khas. Sc eT EAT ARE Tot Coenen Upon developing of heporing prodenenired results.

6. Th appranars cmpeneaioen for compbeirig Us BSc) RaeT 8 ne CONE wpe the espa of repeting of preictoreated wake of cach WL Ae Chea [average Cae cl
hee clare, Hee are D0 RO aU GMAT. AT ate OF SLU Dewabh or Thee urea OF ot bree pend direethy MI Be! ao ror inbred se of this. appraisal.

7. The appravne's analyses, opumions, and conclusions were developed. and) ties report has, belek prepared, in cortonrmeky vanity chet Lhnvt oar Standaeds al Preafetunnal Appraiial Practice.
@. Uneass othoneie weced. The appraines hers Mec a Peron aapecdion of the: property heal is og sabhord of cis rept

8 UMS niptod Oki. ek Oe BOCA Src Pe Pp BPS iesshanec io the aperaiser agning Wit cecal. Sagrado pmpaty appa asssance povided by:
tt

Al civiceal Cagrtilie ors;
WA

 

Deqinivign of value: (Gg) hnrketvale = [_]Ouner Yelua
Sauce of Oeiriaon: FANNIE MAE FORM 10h MARCH 2005
DEFINITION OF MARKET VALLE

THE MOST PROBAGLE PRICE WHICH A PROPERTY SHOULD BRING IN A COMPETITIVE AND OPEN MARKET UNDER ALL CONDITIONS
BEOQUISITE TO AFAIR SALE. THE BUYER AMD SELLER EAGH ACTING PRUDENTLY, KNGWLEDGEABLY AND ASSUMING THE PRICE IS NOT
AFFECTED 8Y WNOUE STIMULUS. IMPLICIT FM THES DEFINITION 1S THE COMSUMMATION OF 4 SALE AS OF 4 SPECIFIED DATE AND THE
PASSING OF TITLE FROM SELLER TO BUYER UNDER CONEXTIONS WHEREBY: (11 BUYER ANE SELLER ARE TYPHCALLY MITIVATELD, (2
BOTH PARTIES ARE WELL INFORMED OR WELL ADVISED. ANG EACH ACTING IN WHAT HE OR SHE CONSIDERS HIS OR HER CWN BEST
INTEREST: 3] 4 REASONABLE TUE IS ALLOWED FOR EXPOSURE IN THE CPEN MARKET: (4) PAYMENT IS MADE IN TERMS OF CASH IN us
DOLLARS OR I TERMS OF FINANCIAL ARRANGEMENTS COMPARABLE THERETO; AND 18] THE PRICE REPRESENTS THE NORMAL
COMNEIDERATION FOR THE PROPERTY SOLD UNAFFECTED 8Y SPECIAL OR CREATIVE FINANCING OF SALES CONCESSIONS GRANTED BY
SAHONE ASSCHG LATER WITH THE SALE.

 

 

THE PURPOSE OF THIS APPRAISAL REPORT 1S TO PROVIDE THE CLIENT WATH A CRECIBLE OPINKIN OF THE VALVE OF THE BUBJECT
PROPERTY, FOR THE SOLE ONG EXCLUSNE USE OF THE CLIENT, THERE ARE 40) ADDITIONAL INFEMDED USERS OF THIS
APPRAGAL/SUMMARY REPORT.

 

ADRESS OF IHE PROPERTY APPRAISED:
4051 VILLA CARMEN CIRCLE

 

NORTH LAS VEGAS, hy 62004-41085
EFFECTIVE OATE OF THE APPRACKAL i

APPRAISED VALUE OF THE SURJEST PROPERTY 5 75,00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

APPRAISER SJPERVISORY 4PPRGISE RL

Sanat: se Skusture:

Nome JAMES DRISCOLL fine:

Sue Cotiication | ACOORCR Stata Cerpficatin #

ov Lkense t Ow Lipenese 3

0 Other Anes rite: Sime F Saas

Saale: Wit Fnpration Care of Cartilage or Lites:

Expration (ate of Ceriication or Licerms: 1a ae Cale of Sn

Dene of Sonature and Report: ORGAO Data of Property Wiesieg:

Cala of Property Wiewing. of properly when
ee ot perepeety mew: CJineror ona tet Cohesserie Oty) bt nen personaly view
keeesew ard Exterir =| Jiertanen Crt [J rt rt per suny sto

a Pescara craig ED ame, | ee “The bara Capp ghd © Hite 0G AC] Cevcrcee of > Cadet Sere, rc. et

i

qpar (| Geral Puce Appl bal PA
GPAFLIM
Seer asia ppe re “LTT Parker Creal Apparel

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 13 of 25

 

 

 

PLAT MAP
ile ATCHISON PHILIP | GOLDSTEIN, LTD Fale Mg. as
43541 WILLA CARMEN CIRCLE Case No,: :
ie NORTH LAS VEGAS Sage: Ny Zig, 9031-1084

 

 

 

   

we reet ea the
124393414001

 

 

 

 

 

 

. dg
124724 15080

f134 13059

 

 

 

 

 

 

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 14 of 25

FLOOO MAF

 

Client ATGHISONACO PHILIP L GGLOSTEM, . To File Aeg.: sHaaa
Property Adkiess; 4851 WILLA CARMEN CIRCLE Case No :
| Cly: NORTH LAS VEGAS Sipte: nv Hip. 39051-1065

 

 

Be
a -
a 4

leo ome => ne
eee a a a
sofas = 1a Pict

 

 

re ae eet) le

 

Tie District mkt ho wemrdatien Conceming thie accuracy obtitis data.

 

_Goeiiet TOES-1912 7
‘Ficod Zones: Thay percel NGF in 2.1 OB ee Sood cone

 

 

 

 

 

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 15 of 25

LOCATION MAP

 

 

 

 

Ghent: AT CHIBONACG PHILIP LL GOLDSTEIN, ETO fille No. saa
Property Aggress: 4657 WILLA CARMEN CIRCLE Case No. -
| City: NORTH LAS VEGAS __ pate: Nit Zip: 2008 1.1085

 

 

 

 

 

 

 

 

  
  

 

 

 

 

     
  
 
      
 
   
   
 
  

  

 

) -[comparabla Sate 5 oh all
29.12 SHADY GARDEN CT FIL || Ys}
Korth Lad Vegas, WV B08 las eof) OS comparable Sale 5 F
a|| —_| sane LEQRARD CT if
eee ao : Worth Las Vegas, WY GROSL-O714 Fo |

 

 

} - [comparable Sale >
F217 TARAMAR ST r
Howth Las Wages, Mv O0S1-2514 F-
=, | {0.56 miles ENE}

 

 

cr
Worth Lae Vegas, AAS Bed
(iS oles WA}

   
   

mem "
34 North Ler veges, HY 8501-10

     
 
  

ag) 1528 RIC BRAD OR E
> Worth Lae Vegas, NY Boa 1-10.15 FE
(0,38 miles ME} ;

 
 
  

 

         
  

Comparabhe Sala 2
4623 CAMINO HERMOSO “
North bas Vagas, WY O8031-1050 E-.,

(0.07 miles SE}

 

 

 

 

 

 

 

 

 

 

 

|
[ yest
re

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 16 of 25

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FLOORPLAN
Chen: ATCHISOMACG PHILIP L GOLDSTEIN, LTD File Mo. feed
Property Address: 4081 VILLA CARMEN CIRCLE Case No.
City, WORTH LAS VEDAS State, Wy Hip: Beta1-1088
I
we
CPATIO
& 40
T
™ a
12.0 DINING pO
BEDROOM 7
a
4 KITCHEN LMING J 5
au
BATH
&
a
16.¢f
a
S| carase
20.0"
ih
Conmnrerte:
AREA CALCULATIONS SUMMARY LING AREA BREAKCOWN
foc Cepcription Ket Stn Het Totala Breakdown
LAL Ficat Floor 1376.0 1936.0 Firak Flone
ef Perch 5.0 1.0 = 44.9 98.0
CRATIO 420-4 am0.9 14.0 & 24.0 and. 0
gar ee 392.4 daz. BS & 4d oz 4.0 a.
io ox go rei o
16,0 "= 29.0 464.0
0 @ 22.0 110.0
Me1 LIVABLE Area {Rounded} 1398 6 items (Rrounckeact} 16

 

 

 

 

 

 

 
Case 09-31139-abl sPEct>roseRiePAaraakbenbed 7:39:53 Page 17 of 25

 

 

 

 

Ghent ATCHISOMCO PHILIP L GOLDSTEIN, LTD File No: saa
Property Aine st; 4861 WILLA CARMEN CIRCLE Case No:
City: NORTH LAS VEGAS Stale, Wit Hip, 9031-1085 |

 

 

 

FRONT VIEW OF
SUBJECT PROFERTY

Appraised Date: Seprember 23, 2009
Appraised Yaka: § 75.000

 

 

 

 

 

 

 

 

RESR VIEW OF
SUBJECT PROPERTY

 

 

 

 

 

STREET SCENE

 

 

 

 

 

 

 
 

Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 18 of 25

 

 

 

SUBJECT
Borrower: NON LENDING File hs 54
Property Address: 4851 VILLA CARMEN CIRCLE Case No: _
Cibe NORTH LAS VEGAS State: NY Zip: 99091-1085

 

Lender: ATGHISOWCO PHILIP L GOLDSTEIN, LTD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

INGROWNG POOL KITCHEN

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

EE Ee

 

LIVING ROOM FIREPLACE BATHROOM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BATHROOM BECROOM

Bie
Repth Leg MG clbemtat, M2ATET opm oC Pure Qa

 

 
Case 09-31139-abloghpQRasce PROPERTEPHORA@BHENDEM:39:53 Page 19 of 25

 

Cenk ATCHISQNACO PHILIP | GOLDSTEIN, LTD File No. ead
Property Address: 4851 VILLA CARMEN GIFICLE Case No:
City, NORTH LAG VEGAS State: Nv Bip, Ha 1G85.

 

 

 

 

 

 

 

COMPARABLE SALE #1

489 CAMINO RERMOSO
HOFRTH LAS VEGAS
Sale Date: o4eo2goo
Sale Pra: § 72,500

 

 

 

 

 

 

 

 

 

 

 

COMPARABLE SALE #2

AT TARAMAR ST
NORTH LAS VEGAS
Sala Date: oFiriand
Sate Prine: 3 60,000

 

 

 

 

 

 

COMPARABLE SALE #3

2012 SHADY GARDEN CT
NORTH LAS VEGAS

Sale Date: o7aiaode
Sale Price: $ 60.500

 

 

 

 

 

 

 
 

Case 09-31139-ab|.,.D0G.4 presHennshGey Redétbin 39:53 Page 20 of 25

 

 

 

 

 

 

 

Ghent ATCHIBONIEO PHILIP L GOLDSTEIN, LT Fila No: Epes

Property AGia55; 4851 VILLA CARMEN GIRCLE Caza Na:

City: NORTH LAS VEGAS State: Nv Hip; eg1-1085.
COMPARABLE SALE #4
1828 RID BRAVO DR
NORTH LAS VEGAS

 

Sale Dale: cae0ca
Sale Price: § 64,500

 

 

 

 

 

 

 

COMPARABLE SALE #5

5206 LEQPARG CT
NORTH LAS VEGAS
Sale Dal: (G08
Sale Prite: 9 144,000

Pe
meri

Ws

 

 

 

 

 

 

 

COMPARABLE SALE #6

S270 PORTLANG CT
ORTH LAS VEGAS
Sale Dale. oreavaia
Sale Price: § 407,500

 

 

 

 

 

 

 

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 21 of 25

EXHIBIT 2

 
Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 22 of 25

PRARGF OF CLAD

UNITED STATES BANKRUPTCY COAT, DISTRICT OF NEVAGA (Laas Veget}

 

 

 

Name of Cobo: LANCE REED ATCHISON
CHERYL LOUISE ATCHISON

Case Number: OF-31159-Ibr

 

qemininratue expense smery et fie! pearsckre fe Hose FF,

NOTE: This foret simuded nor be ose! va mabe o cium Abt am adorlbfutratie experce arcehig gfler dhe commencennenl af the cane. dd Fequest'for payoreni of

 

Name of Creditor {The parton of abet exuity te whom tue debtor owes memey al property}.
JEMORGAN CHASE BANK MATLONAL ASS0CLATION

(Cleeck thia bow te iodicace thant whia
client amends a previously filed
chair.

 

ace ppd acdnesa where Homies alcrukd be sect:

JF MOROAN CHASE BANK, NATIONAL ASSOC ATION
7235 BAY MEALSOWS WAY

JACKSONVILLE FL 32246

Telephone number: (1S) 252-940]

Court Claim Mumiber:

Filed on.

ae

 

Name end address where payers souk) be send Cif bfferent from. abayey

Telephone nomber:

CD Check box ia pow ane ower thet
omyaea elae has filed a proof af clam
celaring te your claire, Aucech popy of
aLEteTREG! paving paroculars,

C1 check bow ifyau are the debrar
or thagtes un uhia cose.

 

t. Arpouet of Claire ax of Date Case Filed: $160,453.61

 

LE all or pact of your claim is secured, complate item 4 below; however, if all ag pour claim is grsecured, do po cnnpets
item.

1¢ all o¢ part of your elaine ie enasthed bo priority. doeplede idea 4.

CO check this bus if claim includes interest or other charges in addition to the principal amount of claim. Auach itemized
Siac, ON indecest ot ChAT RES.

%. Anon! of Claim Fotded to
Pefortty aoder 41 USC § Mt(al. IF
apy porto of your clalw Falb in
ote of thee FollawLng categorles,
eheck che box aad sate the
eck

Specify the priority of det chaim:

OD penmestic goppart cifigations under

 

2, Basis for Chim, = Meiey beamed

TPULS.C. $ 400M A] or fa LB).

Oo Wager, salaned, on commissions {up
to $10,950), * eumed within 190 days

 

3. Last four digits af amy mormber by which credifay Meatfier debtor: NAKN BSL

 

an, Debor may bave scheduled pceoumt a2:

 

before filing of uve bandknspicy
petition oc cassation of che deters
bocinges. whichewer is cartier = 11
LSC, § dNans

 

4. Seemed Clabes
Check the approptile bor if your claim ia secured by a lien on proparty ofa right ofsea08f and provide tha requested
infgomatiote

Maiure of property av tight of setoct: Real Estate = Mader Velnele [_] Chher

 

Value of Property: Acumal Iniercat Plate

Armemet of arrearage aed other charges a4 of dome case filed imcladesd im secured clan,
ifame: ‘44876 Basis for perfec tio:

Ago of Secured Chum: $160,413.61 Arogeot Unsecured:

 

 

5 Contributens to An tmployee bate fil
pum EP UL5C, § Soran).

OF upte $2,425* of deposits toward
purchads, ease, or renwal of property
of agrvices for pareonal, family, or
bouwgehold wpe) TEL RC. G07
(oH?)

O Taxes.on penalties owed to
govemmetual units - 11 V8.0. $597
(eB

D1 other -Specity applicable paragraph
of L U.S.C. $07 (ax _}

 

6. Credits: The ameaune of all payeiis on this elim bas been credited far ube purpose of ronking this peool of claim.

7. Doeurene: Attach redacted copie: of any docemeis that Support tbe claunn, buch a pramusiesy Notes, purchase
gaders, voiced, llemized serie of panmiog ACGME, contracts, judgmenda, mortgages, and secunby agreements
You may seo stiech «summery, Artech redacted cagies of documents providing evidence of perfection oF

B security untettet. Wow may also eciach « summary.

DONT SENG ORIGINAL GOCUMENTS ATTACHED DOCUMENTS MAY BE DESTROVED AFTER
SCAnHING.

Iihe documents are od pvulebké, phases explein:

AtLoMnt antifed ba poorly:

 

2 dab are Subpecd Jo oedisneneeed our
277400 ame every 7 yeors thereafter with
respec fo afer commenced on ar afer

 

 

 

December Of, 2009

 

 

 

pide above. Attach copy of power of mttettety, iE ary,
William (3, Malcolm JE Morgan Chast Bunk, National Associauon

 

és William G, Malcolm

Date: Siguatore: The person filiag chis claim must mgt it. Sign end prict nase and file, aWaety, of the poedetar oe
eaber person authormed bo dle thie clan avd atate address acd tHephone numaber if different from. ihe mitioe

FOR COURT USE ONLY

 

 

Penalip for presenting Jrawdulent claint: Fine of up to 4,000 or imprisanment for up to 3 years, or both, 18 U.S.C. 88 152 and 3471.

 

(fiat) —_

 
Dw wma tw & YE HM

wow w= ee te +t 5B RF 6B

 

Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 23 of 25

APN:
Philip K. Goldstein, Esq.
Nevada Bar #4275
LAW OFFICES OF PHILIP K. GOLDSTEIN, LTD.
609 South Seventh Street
Las Vegas, NV 89101
(702) 388-2004
Attorney for Debtors
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In Re: ) CASE NO, 09-31139 LER
LANCE ATCHISON, ) CHAPTER 13
CHERYL ATCHISON, )
} Date of Hearing: _3/11/10
Debtors. } Time of Hearing: _2:30 P.M.
)

 

PROPOSED ORDER GRANTING DEBTORS’ MOTION TO VALUE

COLLATERAL, "STRIP OFF" AND MODIFY RIGHTS OF HFC (****8661)
PURSUANT TO 11 U.S.C. §506(a) AND $1322

The Court, having reviewed Debtors’ Motion To Value Collateral, and good cause

appearing, IT IS ORDERED:

l. That the lien against Debtors’ property located at 4851 Villa Carmen Cr., North
Las Vegas, Nevada, 89031, be and hereby is avoided and released. and will now become an

unsecured claim.

2. Nothing alters the rights of HFC (**** 8661) under a conversion or 4 dismissal.

 
Oo oo aA om i & Ww Be

yo = =| - se = SF SP oD 2 eB

 

Case 09-31139-abl Doc 22 ‘Entered 02/02/10 17:39:53 Page 24 of 25

DATED: This day of

Submitted By:

LAW OFFICES OF PHILIP K. GOLDSTEIN, LTD.

By:

 

PHILIP K. GOLDSTEIN, ESQ.
Nevada Bar #4275
Attorney for Debtors

APPROVED AS TO FORM & CONTENT:

By

 

KATHLEEN A LEAVITT
CHAPTER 13 TRUSTEE
201 Las Vegas Blvd. #200
Las Vegas, NV 89101

WHEN RECORDED RETURN TO:
PHILIP K. GOLDSTEIN, ESQ.
609 5. 7TH ST., LAS VEGAS, NV 89161

_, 2010.

 
OS =p CR te me fH RO

Bot BF BF BF OB BP OR Re oe

 

Case 09-31139-abl Doc 22 Entered 02/02/10 17:39:53 Page 25 of 25

ALTE ME D re: RULE 9021:
In accordance with Local Rule $921, counsel submitting this document certifies as follows:
The court waived the requirements of approval under LR 9021.

This is a chapter 7 or 13 case, and either with the motion, or at the hearing, I have
delivered a copy of this proposed order to all counsel whe appeared at the hearing, any
unrepresented parties who appeared at the hearing, and each has approved or disapproved the
order, or failed to respond, as indicated below:

Trustee: Kathleen Leavitt‘ Rick Yarnall - approved/ disapproved failed to respond
Counsel appearing: - approved/ disapproved/ failed to respond

I certify that ] have served a copy of this order with the motion, and no parties appeared or
filed written objections.

Hit

 
